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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY
                                   SOUTHERN DIVISION
                                         LONDON

 UNITED STATES OF AMERICA,                        )
                                                  )
       Plaintiff,                                 )
                                                  )          No. 6:21-CR-78-REW-HAI
 v.                                               )
                                                  )                    ORDER
 CODY UPCHURCH,                                   )
                                                  )
       Defendant.                                 )

                                         *** *** *** ***

       After conducting Rule 11 proceedings, see DE 86 (Rearraignment Minute Entry), United

States Magistrate Judge Hanly A. Ingram recommended that the undersigned accept Defendant Cody

Upchurch’s guilty plea and adjudge him guilty of Count One of the Second Superseding Indictment.

See DE 87 at 2 (Recommendation); see also DE 85 (Plea Agreement); DE 41 (Second Superseding

Indictment). Judge Ingram expressly informed Defendant of his right to object to the

Recommendation and secure de novo review. See DE 87 at 3. The established, three-day objection

deadline has passed, and no party has objected.

       The Court is not required to “review . . . a magistrate[ judge]’s factual or legal conclusions,

under a de novo or any other standard, when neither party objects to those findings.” Thomas v. Arn,

106 S. Ct. 466, 472 (1985); see also Berkshire v. Dahl, 928 F.3d 520, 530 (6th Cir. 2019) (noting

that the Sixth Circuit has “long held that, when a defendant does ‘not raise an argument in his

objections to the magistrate[ judge]’s report and recommendation . . . he has forfeited his right to

raise this issue on appeal.’”) (quoting Kensu v. Haigh, 87 F.3d 172, 176 (6th Cir. 1996) (quote

brackets simplified)); United States v. Olano, 133 S. Ct. 1770, 1777 (1993) (distinguishing waiver

and forfeiture); Fed. R. Crim. P. 59(b)(2)-(3) (limiting de novo review duty to “any objection” filed);



                                                  1
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28 U.S.C. § 636(b)(1) (limiting de novo review duty to “those portions” of the recommendation “to

which objection is made”).

       The Court thus, with no objection from any party and on full review of the record, ORDERS

as follows:

       1. The Court ADOPTS DE 87, ACCEPTS Defendant’s guilty plea, and ADJUDGES

              Defendant guilty of Count One of the Second Superseding Indictment (DE 41);

       2. Further, per Judge Ingram’s unopposed recommendation and Defendant’s agreement

              (DE 85 at ¶ 10) 1, the Court provisionally FINDS that the property identified in the

              Second Superseding Indictment (DE 41 at 4) is forfeitable and that Defendant has an

              interest in said property, and preliminarily ADJUDGES Defendant’s interest in such

              property FORFEITED. Under Criminal Rule 32.2, and absent pre-judgment objection,

              “the preliminary forfeiture order becomes final as to” Defendant at sentencing. Fed. R.

              Crim. P. 32.2(b)(4)(A). The Court will further address forfeiture at that time. See id. at

              (b)(4)(B);

       3. The Court CANCELS the jury trial in this matter; and

       4. The Court will issue a separate sentencing order. 2

       This the 21st day of June, 2022.




1
  The plea agreement specifically references the Superseding Indictment, rather than the Second
Superseding Indictment. See DE 85 at ¶ 10. However, the forfeiture allegation in each is identical,
and Judge Ingram specifically found that Defendant concedes “forfeitability of the currency, firearm,
and ammunition specified in the Second Superseding Indictment[.]” DE 87 at 2.
2
  Upon concluding the hearing, Judge Ingram remanded Upchurch to the United States Marshal
pending sentencing. See DE 86 (Rearraignment Minute Entry). This was Upchurch’s status initially,
see DE 36 (Initial Appearance Minute Entry), so the Court sees no need to further address detention
at this time; Upchurch shall remain detained pending sentencing.
                                                2
